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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
            v.                      :               CRIMINAL NO. 1-22-cr-121-1 (TNM)
                                    :
JARED CANTRELL                      :
                                    :
____________________________________:


             CONSENT MOTION TO ADD TRIAL READINESS HEARING



   Jared Cantrell hereby moves this Court to add a trial readiness hearing in the above-captioned

   proceeding. In support of this motion, Mr Cantrell states as follows:

   1. Jared Cantrell is before the Court charged by Information with violations of one count each

      of: Entering and Remaining in a Restricted Building, 18 U.S.C. § 1752(a)(1); Disorderly

      and Disruptive Conduct in a Restricted Building, 18 U.S.C. § 1752(a)(2); Violent Entry

      and Disorderly Conduct on a Capitol Building, 40 U.S.C. §5104(e)(2(D); and Parading,

      Demonstrating, or Picketing in a Capitol Building, 40 U.S.C. §5104(e)(2)(G).       A trial is

      currently set for 4 April 2023.

   2. The parties are engaged in advanced trial preparations. At present, several motions have

      been filed impacting the course of trial strategy and are unresolved. Additionally, in

      discussing with the government how this trial will unfold, it has become apparent several

      stipulation concerns exist which have the potential to steamline trial, or at the very least

      would establish consensus between the parties. Essentially, the parties believe having a

      pre-trial conference will establish “the rules of the game” whereby eliminating any

      ambiguity as to how we proceed, allowing trial to proceed as efficiently as possible.
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                    3. Government counsel has been consulted on this Motion. Both parties consent to this

                        Motion.

                    WHEREFORE, for the above reasons, the parties respectfully request that this Court grant this

                    Motion to Add Trial-Readiness hearing in the above-captioned proceeding.



                                                              Respectfully Submitted,

                                                              /s/ Peter A. Cooper
                                                              Peter A. Cooper, (#478-082)
                                                              400 Fifth Street, NW.
                                                              Suite 350
                                                              Washington DC 20001
                                                              pcooper@petercooperlaw.com
                                                              Counsel for Jared Cantrell




                                                 CERTIFICATE OF SERVICE

                         I HEREBY CERTIFY that a copy of the foregoing Joint Motion to Convert Trial to
                 Status is being filed via the Electronic Court Filing System (ECF), causing a copy to be served
                 upon government counsel of record, this 22nd day of March, 2023.

                                                              /s/ Peter A. Cooper
                                                              Peter A. Cooper
PeterCooperLaw




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